Filed 05/15/19                                                                            Case 19-22401                                                                                           Doc 23
                  Fill in this information to identify your case:

     Debtor 1                   Joseph Stewart Bertolino
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Christina Michelle Bertolino
     (Spouse if, filing)        First Name                           Middle Name                          Last Name

                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number
     (if known)
                                                                                                                                                                         Check if this is an
                                                                                                                                                                          amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $             650,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              34,690.74

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             684,690.74

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $             641,432.69

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                           Schedule E/F.................................                                 $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                              Schedule E/F............................                                   $              32,430.00


                                                                                                                                         Your total liabilities $                   673,862.69


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                8,500.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $              10,864.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
               Yes
     7.     What kind of debt do you have?


                   Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                    purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.



     Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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Filed 05/15/19                                                            Case 19-22401                                                                     Doc 23
     Debtor 1     Bertolino, Joseph Stewart & Bertolino,
     Debtor 2     Christina Michelle                                                      Case number (if known)
                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                 court with your other schedules.

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            2,500.66


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
    Software Copyright (c) 2019 CINGroup - www.cincompass.com
Filed 05/15/19                                                                           Case 19-22401                                                                               Doc 23
                   Fill in this information to identify your case and this filing:

     Debtor 1                    Joseph Stewart Bertolino
                                 First Name                             Middle Name                     Last Name

     Debtor 2                    Christina Michelle Bertolino
     (Spouse, if filing)         First Name                             Middle Name                     Last Name


     United States Bankruptcy Court for the:                     EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

     Case number                                                                                                                                                 Check if this is an
                                                                                                                                                                  amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                       12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
       Yes.        Where is the property?




     1.1                                                                        What is the property? Check all that apply


            2138 Shelby Cir
                                                                                   Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                                        Duplex or multi-unit building
            Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
            El Dorado Hills                   CA        95762-4262                     Land                                       entire property?           portion you own?
            City                              State          ZIP Code                  Investment property                              $650,000.00                 $650,000.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
                                                                                       Debtor 2 only
            County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here...........................................................................=>                         $650,000.00
     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
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Filed 05/15/19                                                                  Case 19-22401                                                                                Doc 23
     Debtor 1
     Debtor 2         Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                    Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
       Yes

      3.1    Make:     Jeep                                     Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:    Grand Cherokee 2WD                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
             Year:     2012                                      Debtor 2 only                                            Current value of the      Current value of the
             Approximate mileage:      91000                    Debtor 1 and Debtor 2 only                                entire property?          portion you own?
             Other information:                                  At least one of the debtors and another

                                                                 Check if this is community property                              $10,955.00                 $10,955.00
                                                                   (see instructions)



      3.2    Make:       Ford                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:      Fusion                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
             Year:       2014                                    Debtor 2 only                                            Current value of the      Current value of the
             Approximate mileage:                 74000         Debtor 1 and Debtor 2 only                                entire property?          portion you own?
             Other information:                                  At least one of the debtors and another

                                                                 Check if this is community property                                $8,127.00                 $8,127.00
                                                                   (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
        Yes


     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       .you have attached for Part 2. Write that number here.............................................................................=>                $19,082.00

     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
    6. Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes.     Describe.....
                                       Household Goods and Furnishings                                                                                          $4,500.00


    7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                   including cell phones, cameras, media players, games
        No
        Yes.     Describe.....
                                       Electronics                                                                                                              $1,500.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
                   collections, memorabilia, collectibles
        No
         Yes.    Describe.....


    Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
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Filed 05/15/19                                                                                       Case 19-22401                                                               Doc 23
     Debtor 1
     Debtor 2          Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                                Case number (if known)

    9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
                  instruments
        No
         Yes.       Describe.....

    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
         Yes.       Describe.....

    11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes.        Describe.....
                                                Clothing                                                                                                             $2,500.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes.        Describe.....
                                                Jewelry                                                                                                              $1,500.00


    13. Non-farm animals
         Examples: Dogs, cats, birds, horses
        No
         Yes.       Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
        No
         Yes.       Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
         Part 3. Write that number here ..............................................................................                                          $10,000.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

    16. Cash
         Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
         Yes................................................................................................................
    17. Deposits of money
         Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
        No
       Yes........................                                     Institution name:


                                                  17.1.       Savings Account                        Bank of America                                                      $5.00



                                                  17.2.       Checking Account                       Bank of America                                                   $299.00




    Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 3
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Filed 05/15/19                                                                    Case 19-22401                                                                      Doc 23
     Debtor 1
     Debtor 2        Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                      Case number (if known)



                                            17.3.    Checking Account             Bank of America                                                          $700.00


    18. Bonds, mutual funds, or publicly traded stocks
         Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
         Yes..................                     Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
         joint venture
        No
         Yes.     Give specific information about them...................
                                         Name of entity:                                                             % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
         Yes. Give specific information about them
                                               Issuer name:

    21. Retirement or pension accounts
         Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                            Type of account:                      Institution name:
                                            Retirement Account                    Edward Jones                                                           $4,104.74


    22. Security deposits and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
         Yes. .....................                                              Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
         Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
         Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
         Yes.     Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
         Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
         Yes.     Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
         Yes.     Give specific information about them...

     Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.


    Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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Filed 05/15/19                                                                        Case 19-22401                                                                                    Doc 23
     Debtor 1
     Debtor 2        Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                                  Case number (if known)

    28. Tax refunds owed to you
        No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
         Yes. Give specific information......

    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                                   compensation, Social Security benefits;
                  unpaid loans you made to someone else
        No
         Yes.     Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                         s, or renter’
                                                                                                                     s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                               Company name:                                                         Beneficiary:                               Surrender or refund
                                                                                                                                                                value:
                                               Ameritas Life Insurance                                               Spouse                                                      $0.00


    32. Any interest in property that is due you from someone who has died
         If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
         died.
        No
         Yes.     Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
         Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
         Yes.     Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
         Yes.     Describe each claim.........

    35. Any financial assets you did not already list
        No
         Yes.     Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
         Part 4. Write that number here.....................................................................................................................            $5,108.74

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
        No. Go to Part 6.
       Yes.     Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

    38. Accounts receivable or commissions you already earned
        No
         Yes.     Describe.....

    Official Form 106A/B                                                        Schedule A/B: Property                                                                           page 5
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Filed 05/15/19                                                                        Case 19-22401                                                                      Doc 23
     Debtor 1
     Debtor 2        Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                                  Case number (if known)


    39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
         Yes.     Describe.....


    40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
        No
         Yes.     Describe.....


    41. Inventory
        No
         Yes.     Describe.....


    42. Interests in partnerships or joint ventures
        No
         Yes.     Give specific information about them...................
                                          Name of entity:                                                                         % of ownership:


    43. Customer lists, mailing lists, or other compilations
        No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   No
                  Yes.      Describe.....

                                                Database - customer list                                                                                         $500.00


    44. Any business-related property you did not already list
        No
         Yes. Give specific information.........


     45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached for
         Part 5. Write that number here.....................................................................................................................   $500.00

     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
           Yes.    Go to line 47.


     Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
         Examples: Season tickets, country club membership
        No
         Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                    $0.00




    Official Form 106A/B                                                        Schedule A/B: Property                                                              page 6
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Filed 05/15/19                                                                                Case 19-22401                                                                            Doc 23
     Debtor 1
     Debtor 2         Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                                             Case number (if known)

     Part 8:         List the Totals of Each Part of this Form


     55. Part 1: Total real estate, line 2 ......................................................................................................................          $650,000.00
     56. Part 2: Total vehicles, line 5                                                                           $19,082.00
     57. Part 3: Total personal and household items, line 15                                                      $10,000.00
     58. Part 4: Total financial assets, line 36                                                                   $5,108.74
     59. Part 5: Total business-related property, line 45                                                            $500.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                      $34,690.74              Copy personal property total       $34,690.74

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $684,690.74




    Official Form 106A/B                                                               Schedule A/B: Property                                                                     page 7
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Filed 05/15/19                                                                  Case 19-22401                                                                              Doc 23
                  Fill in this information to identify your case:

     Debtor 1                 Joseph Stewart Bertolino
                              First Name                        Middle Name                     Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                     Last Name


                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
    property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
    out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
    known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
    applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
    to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
    applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                   portion you own
                                                                  Copy the value from        Check only one box for each exemption.
                                                                  Schedule A/B

     Debtor 1 Exemptions
       Jeep                                                                                                                           CCCP § 703.140(b)(2)
       Grand Cherokee 2WD
                                                                        $10,955.00                                     $5,850.00
       2012                                                                                      100% of fair market value, up to
       91000                                                                                      any applicable statutory limit
       Line from Schedule A/B: 3.1

          Jeep                                                                                                                        CCCP § 703.140(b)(5)
          Grand Cherokee 2WD
                                                                        $10,955.00                                     $1,050.00
          2012                                                                                   100% of fair market value, up to
          91000                                                                                   any applicable statutory limit
          Line from Schedule A/B: 3.1

          Jeep                                                                                                                        CCCP § 703.140(b)(5)
          Grand Cherokee 2WD
                                                                        $10,955.00                                     $4,055.00
          2012                                                                                   100% of fair market value, up to
          91000                                                                                   any applicable statutory limit
          Line from Schedule A/B: 3.1

          Ford                                                                                                                        CCCP § 703.140(b)(5)
          Fusion
                                                                          $8,127.00                                    $8,127.00
          2014                                                                                   100% of fair market value, up to
          74000                                                                                   any applicable statutory limit
          Line from Schedule A/B: 3.2




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 4
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Filed 05/15/19                                                                Case 19-22401                                                                          Doc 23

         Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
         Schedule A/B that lists this property                  portion you own
                                                                Copy the value from    Check only one box for each exemption.
                                                                Schedule A/B

         Household Goods and Furnishings                                                                                        CCCP § 703.140(b)(3)
         Line from Schedule A/B: 6.1
                                                                       $4,500.00                                 $4,500.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Electronics                                                                                                            CCCP § 703.140(b)(3)
         Line from Schedule A/B: 7.1
                                                                       $1,500.00                                 $1,500.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Clothing                                                                                                               CCCP § 703.140(b)(3)
         Line from Schedule A/B: 11.1
                                                                       $2,500.00                                 $2,500.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Jewelry                                                                                                                CCCP § 703.140(b)(4)
         Line from Schedule A/B: 12.1
                                                                       $1,500.00                                 $1,500.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Bank of America                                                                                                        CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.1
                                                                             $5.00                                    $5.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Bank of America                                                                                                        CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.2
                                                                          $299.00                                  $299.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Bank of America                                                                                                        CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.3
                                                                          $700.00                                  $700.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Edward Jones                                                                                                           CCCP § 703.140(b)(10)(E)
         Line from Schedule A/B: 21.1
                                                                       $4,104.74                                 $4,104.74
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Ameritas Life Insurance                                                                                                CCCP § 703.140(b)(5)
         Line from Schedule A/B: 31.1
                                                                             $0.00                                    $1.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Ameritas Life Insurance                                                                                                CCCP § 703.140(b)(8)
         Line from Schedule A/B: 31.1
                                                                             $0.00                                    $1.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

         Database - customer list                                                                                               CCCP § 703.140(b)(5)
         Line from Schedule A/B: 43.1
                                                                          $500.00                                  $500.00
                                                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 2 of 4
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Filed 05/15/19                                                                Case 19-22401                                                                          Doc 23

         Brief description of the property and line on          Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
         Schedule A/B that lists this property                  portion you own
                                                                Copy the value from    Check only one box for each exemption.
                                                                Schedule A/B
     3. Are you claiming a homestead exemption of more than $170,350
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                     page 3 of 4
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Filed 05/15/19                                                                  Case 19-22401                                                                              Doc 23

     Fill in this information to identify your case:

     Debtor 1
                                 First Name                     Middle Name                     Last Name

     Debtor 2                    Christina Michelle Bertolino
     (Spouse if, filing)         First Name                     Middle Name                     Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                        4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
    property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
    out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
    known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
    applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
    to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
    applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                   portion you own
                                                                  Copy the value from        Check only one box for each exemption.
                                                                  Schedule A/B

     Debtor 2 Exemptions
          Brief description:
          Line from Schedule A/B:
                                                                                             
                                                                                                 100% of fair market value, up to
                                                                                                  any applicable statutory limit

     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                 No
                 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                          No
                          Yes




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 4 of 4
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Filed 05/15/19                                                                   Case 19-22401                                                                                 Doc 23
                  Fill in this information to identify your case:

     Debtor 1                   Joseph Stewart Bertolino
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Christina Michelle Bertolino
     (Spouse if, filing)        First Name                      Middle Name                      Last Name

                                                         EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:             DIVISION

     Case number
     (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
    1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             California Home Finance
     2.1                                              Describe the property that secures the claim:                 $12,068.83             $650,000.00                      $0.00
             Authority
             Creditor's Name
                                                      2138 Shelby Cir, El Dorado Hills,
                                                      CA 95762-4262
             1700 N Broadway Ste 405                  As of the date you file, the claim is: Check all that
             Walnut Creek, CA                         apply.
             94596-4184                                Contingent
             Number, Street, City, State & Zip Code    Unliquidated
                                                       Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
      Debtor 1 only                                   An agreement you made (such as mortgage or secured
      Debtor 2 only                                       car loan)

     Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 4
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Filed 05/15/19                                                                    Case 19-22401                                                              Doc 23

     Debtor 1 Joseph Stewart Bertolino                                                                         Case number (if known)
                  First Name                  Middle Name                     Last Name
     Debtor 2 Christina Michelle Bertolino
                  First Name                  Middle Name                     Last Name


            California Home Finance
     2.2                                               Describe the property that secures the claim:                  $25,451.74        $650,000.00      $0.00
            Authority
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
            1700 N Broadway Ste 405                    As of the date you file, the claim is: Check all that
            Walnut Creek, CA                           apply.
            94596-4184                                  Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
      Debtor 2 only                                        car loan)

     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number


            California Home Finance
     2.3                                               Describe the property that secures the claim:                  $14,332.97        $650,000.00      $0.00
            Authority
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
            1700 N Broadway Ste 405                    As of the date you file, the claim is: Check all that
            Walnut Creek, CA                           apply.
            94596-4184                                  Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                    An agreement you made (such as mortgage or secured
      Debtor 2 only                                        car loan)

     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number


     2.4    Capital Insurance Group                    Describe the property that secures the claim:                  $35,000.00        $650,000.00      $0.00
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
            PO Box 3110                                As of the date you file, the claim is: Check all that
            Monterey, CA                               apply.
            93942-3110                                  Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number




    Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 2 of 4
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Filed 05/15/19                                                                    Case 19-22401                                                              Doc 23

     Debtor 1 Joseph Stewart Bertolino                                                                         Case number (if known)
                  First Name                  Middle Name                     Last Name
     Debtor 2 Christina Michelle Bertolino
                  First Name                  Middle Name                     Last Name


     2.5    M&T Bank                                   Describe the property that secures the claim:                 $510,240.36        $650,000.00      $0.00
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
                                                       As of the date you file, the claim is: Check all that
            PO Box 619063                              apply.
            Dallas, TX 75261-9063                       Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      Debtor 1 only                                   An agreement you made (such as mortgage or secured
      Debtor 2 only                                        car loan)
     Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number        3887

     2.6    River City Bank                            Describe the property that secures the claim:                  $18,277.00        $650,000.00      $0.00
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
            2485 Natomas Park Dr
                                                       As of the date you file, the claim is: Check all that
            Ste 100                                    apply.
            Sacramento, CA                              Contingent
            95833-2975
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number        4277

            Strategic Funding
     2.7                                               Describe the property that secures the claim:                  $26,061.79        $650,000.00      $0.00
            Source, Inc.
            Creditor's Name
                                                       2138 Shelby Cir, El Dorado Hills,
                                                       CA 95762-4262
            1501 Broadway Ste 1515                     As of the date you file, the claim is: Check all that
            New York, NY                               apply.
            10036-5505                                  Contingent
            Number, Street, City, State & Zip Code      Unliquidated
                                                        Disputed
     Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                            car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)
           community debt

     Date debt was incurred                                     Last 4 digits of account number        0111


    Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                page 3 of 4
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Filed 05/15/19                                                              Case 19-22401                                                                                 Doc 23

     Debtor 1 Joseph Stewart Bertolino                                                                Case number (if known)
                 First Name                Middle Name                 Last Name
     Debtor 2 Christina Michelle Bertolino
                 First Name                Middle Name                 Last Name




     Add the dollar value of your entries in Column A on this page. Write that number here:                         $641,432.69
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:                                                                                        $641,432.69

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.

            Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.5
            Lakeview Loan Servicing
            507 Prudential Rd                                                                  Last 4 digits of account number   3887
            Horsham, PA 19044-2308

            Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.5
            McCarthy Holthus LLP
            1770 4th Ave                                                                       Last 4 digits of account number   3887
            San Diego, CA 92101-2607

            Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.5
            Quality Loan Service, Inc.
            411 Ivy St                                                                         Last 4 digits of account number   3887
            San Diego, CA 92101-2108

            Name, Number, Street, City, State & Zip Code                                       On which line in Part 1 did you enter the creditor?   2.5
            Sun West Mortgage Company, Inc.
            6131 Orangethorpe Ave Ste 500                                                      Last 4 digits of account number   3887
            Buena Park, CA 90620-4903




    Official Form 106D                  Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                              page 4 of 4
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Filed 05/15/19                                                                    Case 19-22401                                                                                        Doc 23
          Fill in this information to identify your case:

     Debtor 1                  Joseph Stewart Bertolino
                               First Name                       Middle Name                          Last Name

     Debtor 2                  Christina Michelle Bertolino
     (Spouse if, filing)       First Name                       Middle Name                          Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number
     (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
    D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
    the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
    case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
            Yes.
     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes.
     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
           2.
                                                                                                                                                                Total claim

     4.1          American Express                                       Last 4 digits of account number                                                                    $6,943.00
                  Nonpriority Creditor's Name
                                                                         When was the debt incurred?
                  PO Box 981537
                  El Paso, TX 79998-1537
                  Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.

                  Debtor 1 only                                          Contingent
                   Debtor 2 only                                         Unliquidated
                   Debtor 1 and Debtor 2 only                            Disputed
                   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                Student loans
                  debt                                                    Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                        report as priority claims
                  No                                                     Debts to pension or profit-sharing plans, and other similar debts
                   Yes                                                  Other. Specify




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 4
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Filed 05/15/19                                                               Case 19-22401                                                                     Doc 23
     Debtor 1 Bertolino, Joseph Stewart & Bertolino, Christina
     Debtor 2 Michelle                                                                                  Case number (if known)

     4.2      Bank of America                                       Last 4 digits of account number                                                   $4,073.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?
              4060 ogletown stanton rd
              Newark, DE 19702
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                        Contingent
              Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify

     4.3      Capital One Bank (USA), NA                            Last 4 digits of account number                                                   $5,651.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?
              PO Box 85015
              Richmond, VA 23285-5015
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                        Contingent
              Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify

     4.4      Capital One Bank (USA), NA                            Last 4 digits of account number                                                   $4,286.00
              Nonpriority Creditor's Name
                                                                    When was the debt incurred?
              PO Box 85015
              Richmond, VA 23285-5015
              Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Debtor 1 only                                        Contingent
              Debtor 2 only                                         Unliquidated
               Debtor 1 and Debtor 2 only                           Disputed
               At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community               Student loans
              debt                                                   Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                       report as priority claims
              No                                                    Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                 Other. Specify




    Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 4
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Filed 05/15/19                                                               Case 19-22401                                                                                Doc 23
     Debtor 1 Bertolino, Joseph Stewart & Bertolino, Christina
     Debtor 2 Michelle                                                                                  Case number (if known)

     4.5       Chase Card                                           Last 4 digits of account number                                                            $2,518.00
               Nonpriority Creditor's Name
                                                                    When was the debt incurred?
               301 N Walnut St Fl 9
               Wilmington, DE 19801-3971
               Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                Debtor 1 only                                       Contingent
               Debtor 2 only                                        Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community              Student loans
               debt                                                  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                      report as priority claims

               No                                                   Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                Other. Specify

     4.6       CitiCards CBNA                                       Last 4 digits of account number                                                            $8,711.00
               Nonpriority Creditor's Name
                                                                    When was the debt incurred?
               701 E 60th St N
               Sioux Falls, SD 57104-0432
               Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               Debtor 1 only                                        Contingent
                Debtor 2 only                                       Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community              Student loans
               debt                                                  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                      report as priority claims

               No                                                   Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                Other. Specify

     4.7       Transworld Systems Inc.                              Last 4 digits of account number                                                               $248.00
               Nonpriority Creditor's Name
                                                                    When was the debt incurred?
               PO Box 15273
               Wilmington, DE 19850-5273
               Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                Debtor 1 only                                       Contingent
               Debtor 2 only                                        Unliquidated
                Debtor 1 and Debtor 2 only                          Disputed
                At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community              Student loans
               debt                                                  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                      report as priority claims
               No                                                   Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                Other. Specify

     Part 3:     List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.

    Official Form 106 E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 4
    Software Copyright (c) 2019 CINGroup - www.cincompass.com
Filed 05/15/19                                                                  Case 19-22401                                                                             Doc 23
     Debtor 1 Bertolino, Joseph Stewart & Bertolino, Christina
     Debtor 2 Michelle                                                                                        Case number (if known)

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     American Express                                            Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 0001                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
     Los Angeles, CA 90096-8000
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Bank of America                                             Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     100 N Tryon St                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     Charlotte, NC 28202-4000
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Bank of America, N.A.                                       Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 15220                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Wilmington, DE 19886-5220
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Capital One Bank (USA), NA                                  Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 30281                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Salt Lake City, UT 84130-0281
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Citibank, N.A.                                              Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 6286                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
     Sioux Falls, SD 57117-6286
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     JPMorgan Chase Bank                                         Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 15123                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Wilmington, DE 19850-5123
                                                                 Last 4 digits of account number


     Part 4:     Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                   Total Claim
                            6a.   Domestic support obligations                                                  6a.      $                         0.00
     Total claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                         0.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.      $                         0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                         0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                      6e.      $                         0.00

                                                                                                                                   Total Claim
                            6f.   Student loans                                                                 6f.      $                         0.00
     Total claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                         6g.      $                         0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.      $                         0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                  here.                                                                                  $                  32,430.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.      $                  32,430.00




    Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 4
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Filed 05/15/19                                                                      Case 19-22401                                                                         Doc 23
                  Fill in this information to identify your case:

     Debtor 1                 Joseph Stewart Bertolino
                              First Name                         Middle Name               Last Name

     Debtor 2                 Christina Michelle Bertolino
     (Spouse if, filing)      First Name                         Middle Name               Last Name

                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number
     (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                          12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules.      You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
            unexpired leases.


             Person or company with whom you have the contract or lease                      State what the contract or lease is for
                              Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.2
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.3
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.4
               Name


               Number       Street

               City                                    State                   ZIP Code
      2.5
               Name


               Number       Street

               City                                    State                   ZIP Code




    Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
    Software Copyright (c) 2019 CINGroup - www.cincompass.com
Filed 05/15/19                                                                        Case 19-22401                                                                  Doc 23
                  Fill in this information to identify your case:

     Debtor 1                   Joseph Stewart Bertolino
                                First Name                            Middle Name            Last Name

     Debtor 2                   Christina Michelle Bertolino
     (Spouse if, filing)        First Name                            Middle Name            Last Name

                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number
     (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                              12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
           Yes
           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                     No
                    Yes.

                            In which community state or territory did you live?              CA             . Fill in the name and current address of that person.
                            Joseph & Christina Bertolino
                            2138 Shelby Cir
                            El Dorado Hills, CA 95762-4262
                            Name of your spouse, former spouse, or legal equivalent
                            Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
          line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
          106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
          Column 2.

                    Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:

        3.1                                                                                                   Schedule D, line
                     Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                     Number            Street
                     City                                     State                           ZIP Code




        3.2                                                                                                   Schedule D, line
                     Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                     Number            Street
                     City                                     State                           ZIP Code




    Official Form 106H                                                                   Schedule H: Your Codebtors                                     Page 1 of 1
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Filed 05/15/19                                                          Case 19-22401                                                                          Doc 23



     Fill in this information to identify your case:

     Debtor 1                      Joseph Stewart Bertolino

     Debtor 2                      Christina Michelle Bertolino
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA,
                                                   SACRAMENTO DIVISION

     Case number                                                                                               Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:
     Official Form 106I                                                                                            MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                  Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                              Not employed
            employers.
                                                  Occupation
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student or Employer's address
            homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
    space, attach a separate sheet to this form.

                                                                                                             For Debtor 1        For Debtor 2 or
                                                                                                                                 non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $              0.00     $               0.00

     3.     Estimate and list monthly overtime pay.                                                3.   +$              0.00     +$              0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                           4.    $           0.00            $        0.00




    Official Form 106I                                                        Schedule I: Your Income                                                    page 1
Filed 05/15/19                                                        Case 19-22401                                                                              Doc 23

     Debtor 1
     Debtor 2   Bertolino, Joseph Stewart & Bertolino, Christina Michelle                               Case number (if known)



                                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                                    non-filing spouse
          Copy line 4 here                                                                       4.         $              0.00     $             0.00

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               0.00
          5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               0.00
          5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               0.00
          5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               0.00
          5e.    Insurance                                                                       5e.        $              0.00     $               0.00
          5f.    Domestic support obligations                                                    5f.        $              0.00     $               0.00
          5g.    Union dues                                                                      5g.        $              0.00     $               0.00
          5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $                  0.00     $               0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $                  0.00     $               0.00
     8.   List all other income regularly received:
          8a.    Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                             8a.        $      7,000.00         $        1,500.00
          8b. Interest and dividends                                                             8b.        $          0.00         $            0.00
          8c.    Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                            8c.        $              0.00     $               0.00
          8d. Unemployment compensation                                                          8d.        $              0.00     $               0.00
          8e.    Social Security                                                                 8e.        $              0.00     $               0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                        8f.  $                    0.00   $                 0.00
          8g. Pension or retirement income                                                       8g. $                     0.00   $                 0.00
          8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $                 0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $          7,000.00         $         1,500.00

     10. Calculate monthly income. Add line 7 + line 9.                                        10. $            7,000.00 + $        1,500.00 = $           8,500.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                       11.     +$             0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $          8,500.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
              No.
          Yes. Explain: *Debtor is real estate agent
                                   Joint debtor does interior design work




    Official Form 106I                                                       Schedule I: Your Income                                                        page 2
Filed 05/15/19                                                               Case 19-22401                                                                        Doc 23



      Fill in this information to identify your case:

      Debtor 1               Joseph Stewart Bertolino                                                              Check if this is:
                                                                                                                    An amended filing
      Debtor 2               Christina Michelle Bertolino                                                           A supplement showing postpetition chapter 13
      (Spouse, if filing)                                                                                              expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA,                                            MM / DD / YYYY
                                                SACRAMENTO DIVISION

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                                12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
             No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                       No
                      Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
      2.    Do you have dependents?              No
            Do not list Debtor 1 and
            Debtor 2.
                                                Yes.    Fill out this information for
                                                         each dependent..............
                                                                                         Dependent’  s relationship to
                                                                                         Debtor 1 or Debtor 2
                                                                                                                              Dependent’
                                                                                                                              age
                                                                                                                                       s      Does dependent
                                                                                                                                              live with you?

            Do not state the                                                                                                                   No
            dependents names.                                                            Daughter                             10              Yes
                                                                                                                                               No
                                                                                         Son                                  5               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
      3.    Do your expenses include
            expenses of people other than
                                                       No
            yourself and your dependents?               Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know the
      value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                        Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                            4. $                           1,850.00

            If not included in line 4:

            4a.   Real estate taxes                                                                               4a.    $                             0.00
            4b. Property, homeowner’    s, or renter’
                                                    s insurance                                                   4b.    $                             0.00
            4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
            4d. Homeowner’     s association or condominium dues                                                  4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                             0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Filed 05/15/19                                                              Case 19-22401                                                                                  Doc 23


      Debtor 1     Bertolino, Joseph Stewart & Bertolino, Christina
      Debtor 2     Michelle                                                                                  Case number (if known)

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                    6a. $                                              120.00
            6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
            6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              300.00
            6d. Other. Specify:                                                                      6d. $                                                 0.00
      7.    Food and housekeeping supplies                                                             7. $                                              500.00
      8.    Childcare and children’     s education costs                                              8. $                                              500.00
      9.    Clothing, laundry, and dry cleaning                                                        9. $                                              200.00
      10.   Personal care products and services                                                      10. $                                               200.00
      11.   Medical and dental expenses                                                              11. $                                               200.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                             12. $                                               200.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                50.00
      14.   Charitable contributions and religious donations                                         14. $                                                 0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                     15a. $                                                 0.00
            15b. Health insurance                                                                   15b. $                                                 0.00
            15c. Vehicle insurance                                                                  15c. $                                               220.00
            15d. Other insurance. Specify:                                                          15d. $                                                 0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                                 16. $                                                  0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
            17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
            17c. Other. Specify:                                                                    17c. $                                                  0.00
            17d. Other. Specify:                                                                    17d. $                                                  0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
      19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
            Specify:                                                                                 19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                        20a. $                                                  0.00
            20b. Real estate taxes                                                                  20b. $                                                  0.00
            20c. Property, homeowner’      s, or renter’
                                                       s insurance                                  20c. $                                                  0.00
            20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
            20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
      21.   Other: Specify:                                                                          21. +$                                                 0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                      $                      4,340.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $                      6,524.00
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                     10,864.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                              8,500.00
          23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                            10,864.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                              -2,364.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
            No.
             Yes.              Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 05/15/19                                                                Case 19-22401                                                                    Doc 23


      Debtor 1      Bertolino, Joseph Stewart & Bertolino, Christina
      Debtor 2      Michelle                                                                               Case number (if known)



      Fill in this information to identify your case:

      Debtor 1              Joseph Stewart Bertolino                                                          Check if this is:
                                                                                                               An amended filing
      Debtor 2              Christina Michelle Bertolino                                                       A supplement showing postpetition chapter 13
      (Spouse, if filing)                                                                                         expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA,                                    MM / DD / YYYY
                                                SACRAMENTO DIVISION

      Case number
      (If known)
                                                                                                              

      Official Form 106J-2
      Schedule J-2: Your Expenses for Separate Household of Debtor 2                                                                                        12/15
      Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and
      Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this
      form only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space
      is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
      question.

      Part 1:       Describe Your Household

      1.    Do you and Debtor 1 maintain separate households?
                 No. Do not complete this form.
             Yes
      2.    Do you have dependents?              No
            Do not list Debtor 1 but
            list all other dependents
                                                Yes.
            of Debtor 2 regardless
            of whether listed as a
            dependent of Debtor 1                        Fill out this information for    Dependent’
                                                                                                   s relationship to       Dependent’
                                                                                                                                    s      Does dependent
            on Schedule J.                               each dependent................   Debtor 2                         age             live with you?

            Do not state the                                                                                                                No
            dependents names.
                                                                                          Daughter                         10              Yes
            .                                                                                                                               No
                                                                                          Son                              5               Yes
            .                                                                                                                               No
                                                                                                                                            Yes
            .                                                                                                                               No
                                                                                                                                            Yes
      3.    Do your expenses include
            expenses of people other than
                                                       No
            yourself and your dependents?               Yes

      Part 2:   Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed.

      Include expenses paid for with non-cash government assistance if you know the value of
      such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                            Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                       3,574.00

            If not included in line 4:

            4a.     Real estate taxes                                                                            4a. $                             0.00
            4b.     Property, homeowner’
                                       s, or renter’
                                                   s insurance                                                   4b. $                             0.00
      Official Form 106J                                                   Schedule J: Your Expenses                                                        page 3
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      Debtor 1     Bertolino, Joseph Stewart & Bertolino, Christina
      Debtor 2     Michelle                                                                                  Case number (if known)

            4c.   Home maintenance, repair, and upkeep expenses                                                    4c. $                                    0.00
            4d. Homeowner’   s association or condominium dues                                                     4d. $                                    0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                              5. $                                    0.00

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                    6a. $                                              400.00
            6b. Water, sewer, garbage collection                                                     6b. $                                               120.00
            6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                               80.00
            6d. Other. Specify:                                                                      6d. $                                                 0.00
      7.    Food and housekeeping supplies                                                             7. $                                              900.00
      8.    Childcare and children’     s education costs                                              8. $                                              500.00
      9.    Clothing, laundry, and dry cleaning                                                        9. $                                              200.00
      10.   Personal care products and services                                                      10. $                                               200.00
      11.   Medical and dental expenses                                                              11. $                                               200.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                             12. $                                               200.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                               150.00
      14.   Charitable contributions and religious donations                                         14. $                                                 0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                     15a. $                                                  0.00
            15b. Health insurance                                                                   15b. $                                                  0.00
            15c. Vehicle insurance                                                                  15c. $                                                  0.00
            15d. Other insurance. Specify:                                                          15d. $                                                  0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                                 16. $                                                  0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                         17a. $                                                  0.00
            17b. Car payments for Vehicle 2                                                         17b. $                                                  0.00
            17c. Other. Specify:                                                                    17c. $                                                  0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
      19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
            Specify:                                                                                 19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                        20a. $                                                  0.00
            20b. Real estate taxes                                                                  20b. $                                                  0.00
            20c. Property, homeowner’      s, or renter’
                                                       s insurance                                  20c. $                                                  0.00
            20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
            20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
      21.   Other: Specify:                                                                          21. +$                                                 0.00
      22. Your monthly expenses. Add lines 5 through 21.                                                                   $                        6,524.00
          The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to
          calculate the total expenses for Debtor 1 and Debtor 2.

      23. Line not used on this form.
      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
            No.
             Yes.              Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 4
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           Fill in this information to identify your case:

     Debtor 1                    Joseph Stewart Bertolino
                                 First Name             Middle Name             Last Name

     Debtor 2                    Christina Michelle Bertolino
     (Spouse if, filing)         First Name             Middle Name             Last Name


                                                   EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:       DIVISION

     Case number
     (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                   12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                   No

                   Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                            Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Joseph Bertolino                                              X   /s/ Christina Bertolino
                  Joseph Stewart Bertolino                                          Christina Michelle Bertolino
                  Signature of Debtor 1                                             Signature of Debtor 2

                  Date       May 15, 2019                                           Date    May 15, 2019
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                Fill in this information to identify your case:

     Debtor 1                 Joseph Stewart Bertolino
                              First Name                        Middle Name                 Last Name

     Debtor 2                 Christina Michelle Bertolino
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                 Married
                 Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                 Dates Debtor 1 lived      Debtor 2 Prior Address:                                Dates Debtor 2
                                                                    there                                                                            lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                     Debtor 1                                                        Debtor 2
                                                     Sources of income                 Gross income                  Sources of income               Gross income
                                                     Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                       exclusions)                                                   and exclusions)

     From January 1 of current year until             Wages, commissions,                       $119,922.00         Wages, commissions,                     $1,250.00
     the date you filed for bankruptcy:              bonuses, tips                                                   bonuses, tips
                                                     Operating a business                                            Operating a business




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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     Debtor 1
     Debtor 2     Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                   Case number (if known)


                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                Gross income                  Sources of income             Gross income
                                                      Check all that apply.            (before deductions and        Check all that apply.         (before deductions
                                                                                       exclusions)                                                 and exclusions)

     For last calendar year:                           Wages, commissions,                      $134,134.43          Wages, commissions,                   $900.00
     (January 1 to December 31, 2018 )                bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                          Operating a business
     For the calendar year before that:                Wages, commissions,                       $47,909.00          Wages, commissions,                        $0.00
     (January 1 to December 31, 2017 )                bonuses, tips                                                  bonuses, tips

                                                      Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
          other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
          you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               No
               Yes. Fill in the details.

                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                Gross income from             Sources of income             Gross income
                                                      Describe below.                  each source                   Describe below.               (before deductions
                                                                                       (before deductions and                                      and exclusions)
                                                                                       exclusions)

     Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                                incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                            No.      Go to line 7.
                            Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                                    creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                    payments to an attorney for this bankruptcy case.
                        * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

               Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.         Go to line 7.
                            Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                      payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                      this bankruptcy case.


           Creditor's Name and Address                           Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                       paid             still owe

    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
          which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
          business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

               No
               Yes. List all payments to an insider.
           Insider's Name and Address                            Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                       paid             still owe

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     Debtor 1
     Debtor 2     Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                    Case number (if known)


    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

               No
               Yes. List all payments to an insider
           Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                        paid             still owe      Include creditor's name

     Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
          and contract disputes.

               No
               Yes. Fill in the details.
           Case title                                             Nature of the case           Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

               No. Go to line 11.
               Yes. Fill in the information below.
           Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                                property
                                                                  Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
               No
               Yes. Fill in the details.
           Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                                 taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

               No
               Yes

     Part 5:     List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
           person                                                                                                                the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
               No
               Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
           more than $600                                                                                                        contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:     List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

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          or gambling?

               No
               Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                    Date of your       Value of property
           how the loss occurred                                                                                                loss                            lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 ofSchedule A/B: Property.

     Part 7:     List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
           Address                                                      transferred                                             transfer was              payment
           Email or website address                                                                                             made
           Person Who Made the Payment, if Not You
           Bains Legal PC                                               Attorney Fees                                           04/16/2019               $1,650.00
           180 Promenade Cir Ste 300
           Sacramento, CA 95834-2952
           www.norcalbkattorney.com


           001 Debtorcc, Inc.                                           Credit Counseling                                       04/15/2019                  $14.95
           378 Summit Ave
           Jersey City, NJ 07306-3110
           www.debtorcc.org


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                          Description and value of any property                   Date payment or          Amount of
           Address                                                      transferred                                             transfer was              payment
                                                                                                                                made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
        gifts and transfers that you have already listed on this statement.
               No
               Yes. Fill in the details.
           Person Who Received Transfer                                 Description and value of                  Describe any property or        Date transfer was
           Address                                                      property transferred                      payments received or debts      made
                                                                                                                  paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
               No
               Yes. Fill in the details.
           Name of trust                                                Description and value of the property transferred                         Date Transfer was
                                                                                                                                                  made




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     Debtor 2      Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                       Case number (if known)


     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
               No
               Yes. Fill in the details.
           Name of Financial Institution and                      Last 4 digits of               Type of account or            Date account was    Last balance before
           Address (Number, Street, City, State and ZIP           account number                 instrument                    closed, sold,        closing or transfer
           Code)                                                                                                               moved, or
                                                                                                                               transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

               No
               Yes. Fill in the details.
           Name of Financial Institution                                Who else had access to it?                 Describe the contents              Do you still
           Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                          have it?
                                                                        and ZIP Code)

    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

               No
               Yes. Fill in the details.
           Name of Storage Facility                                     Who else has or had access                 Describe the contents              Do you still
           Address (Number, Street, City, State and ZIP Code)           to it?                                                                        have it?
                                                                        Address (Number, Street, City, State
                                                                        and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
        someone.

               No
               Yes. Fill in the details.
           Owner's Name                                                 Where is the property?                     Describe the property                         Value
           Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                        Code)

     Part 10:      Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

         Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
          controlling the cleanup of these substances, wastes, or material.
         Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
          own, operate, or utilize it, including disposal sites.
         Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
          material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

               No
               Yes. Fill in the details.
           Name of site                                                 Governmental unit                              Environmental law, if you      Date of notice
           Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                        ZIP Code)




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    25. Have you notified any governmental unit of any release of hazardous material?

               No
               Yes. Fill in the details.
           Name of site                                                Governmental unit                              Environmental law, if you          Date of notice
           Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                       ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No
               Yes. Fill in the details.
           Case Title                                                  Court or agency                            Nature of the case                     Status of the
           Case Number                                                 Name                                                                              case
                                                                       Address (Number, Street, City, State
                                                                       and ZIP Code)

     Part 11:    Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation
               No. None of the above applies. Go to Part 12.

               Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                         Describe the nature of the business                   Employer Identification number
           Address                                                                                                     Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                       Dates business existed
           CBDesigns                                             Interior Design                                       EIN:
           2138 Shelby Cir
           El Dorado Hills, CA 95762-4262                                                                              From-To     Nov 2018 - Current

           Bertolino Real Estate Group                           Real Estate                                           EIN:        XX-XXXXXXX
           2138 Shelby Cir
           El Dorado Hills, CA 95762-4262                        Taxpro                                                From-To     3/26/2018 - Current

           Bertolino Insurance                                   Insurance                                             EIN:        XX-XXXXXXX
           2138 Shelby Cir
           El Dorado Hills, CA 95762-4262                        May Garcia                                            From-To     6/1/08 - 11/15/2015

           BIH, Inc.                                             Insurance                                             EIN:        XX-XXXXXXX
           2138 Shelby Cir
           El Dorado Hills, CA 95762-4262                        Taxpro                                                From-To     12/18/2012 - 11/2015

           JB Land Company Inc.                                  Real Estate *no assets no                             EIN:        XX-XXXXXXX
           2138 Shelby Cir                                       revenue
           El Dorado Hills, CA 95762-4262                                                                              From-To     3/2/2018 - Current
                                                                 Taxpro

           Yellow Brick Homes LLC                                Real Estate                                           EIN:        XX-XXXXXXX
           2138 Shelby Cir
           El Dorado Hills, CA 95762-4262                        Taxpro                                                From-To     11/18/2015 - 2018




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     Debtor 2      Bertolino, Joseph Stewart & Bertolino, Christina Michelle                                  Case number (if known)


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                No
                Yes. Fill in the details below.
            Name                                                  Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
    true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Joseph Bertolino                                                  /s/ Christina Bertolino
     Joseph Stewart Bertolino                                              Christina Michelle Bertolino
     Signature of Debtor 1                                                 Signature of Debtor 2

     Date      May 15, 2019                                                Date      May 15, 2019

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
    No
     Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
    No
     Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                     page 7

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                  Fill in this information to identify your case:

     Debtor 1                  Joseph Stewart Bertolino
                               First Name                       Middle Name                Last Name

     Debtor 2                  Christina Michelle Bertolino
     (Spouse if, filing)      First Name                        Middle Name                Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                        12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
            the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
              and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                    secures a debt?                                     as exempt on Schedule C?



        Creditor's         California Home Finance Authority                   Surrender the property.                              No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation    Yes
        Description of       2138 Shelby Cir, El Dorado                          Agreement.
        property             Hills, CA 95762-4262                             Retain the property and [explain]:
        securing debt:                                                         Keep Home


        Creditor's         California Home Finance Authority                   Surrender the property.                              No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation    Yes
        Description of       2138 Shelby Cir, El Dorado                          Agreement.
        property             Hills, CA 95762-4262                             Retain the property and [explain]:
        securing debt:                                                         Keep Home


        Creditor's         California Home Finance Authority                   Surrender the property.                              No
        name:                                                                  Retain the property and redeem it.
                                                                               Retain the property and enter into a Reaffirmation    Yes
        Description of       2138 Shelby Cir, El Dorado                          Agreement.
        property             Hills, CA 95762-4262                             Retain the property and [explain]:
    Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                        page 1

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     Debtor 1
     Debtor 2     Bertolino, Joseph Stewart & Bertolino, Christina Michelle                              Case number (if known)


        securing debt:                                                       Keep Home


        Creditor's     Capital Insurance Group                              Surrender the property.                                   No
        name:                                                               Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation         Yes
        Description of     2138 Shelby Cir, El Dorado                          Agreement.
        property           Hills, CA 95762-4262                            Retain the property and [explain]:
        securing debt:                                                       Keep Home


        Creditor's     M&T Bank                                             Surrender the property.                                   No
        name:                                                               Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation         Yes
        Description of     2138 Shelby Cir, El Dorado                          Agreement.
        property           Hills, CA 95762-4262                            Retain the property and [explain]:
        securing debt:                                                       Keep Home


        Creditor's     River City Bank                                      Surrender the property.                                   No
        name:                                                               Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation         Yes
        Description of     2138 Shelby Cir, El Dorado                          Agreement.
        property           Hills, CA 95762-4262                            Retain the property and [explain]:
        securing debt:                                                       Keep Home


        Creditor's     Strategic Funding Source, Inc.                       Surrender the property.                                   No
        name:                                                               Retain the property and redeem it.
                                                                            Retain the property and enter into a Reaffirmation         Yes
        Description of     2138 Shelby Cir, El Dorado                          Agreement.
        property           Hills, CA 95762-4262                            Retain the property and [explain]:
        securing debt:                                                       Keep Home

     Part 2:  List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
    the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
    may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                             Will the lease be assumed?

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No
     Description of leased
     Property:                                                                                                                       Yes

     Lessor's name:                                                                                                                  No



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     Debtor 1
     Debtor 2      Bertolino, Joseph Stewart & Bertolino, Christina Michelle                            Case number (if known)


     Description of leased                                                                                                          Yes
     Property:

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Joseph Bertolino                                                       X /s/ Christina Bertolino
           Joseph Stewart Bertolino                                                       Christina Michelle Bertolino
           Signature of Debtor 1                                                          Signature of Debtor 2

           Date        May 15, 2019                                                   Date     May 15, 2019




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